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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

            PROCEDURAL ORDER FOR SOCIAL SECURITY REVIEW ACTIONS

CASE NO. C07-6465 MHP

TO PARTIES AND COUNSEL OF RECORD IN THE ABOVE ACTION:

       The above action seeks review of a decision by the Secretary of Health and Human

Services denying plaintiff Social Security payments. The parties are reminded that the Court’s

jurisdiction is limited to reviewing the administrative record to determine whether the decision is

supported by substantial evidence in the record, and whether the Secretary complied with the

requirements of the Constitution and the Social Security Act and administrative regulations in

reaching the decision reviewed. 42 U.S.C. Section 405(g).

       Pursuant to Civil L.R. 16-5, IT IS HEREBY ORDERED:

       1.        Defendant shall serve and file an answer, together with a certified copy of the

transcript of the administrative record, within ninety days of receipt of service of the summons

and complaint.

       2.        Plaintiff shall serve and file a motion for summary judgment or for remand within

thirty days of service of defendant’s answer.

       3.        Defendant shall serve and file any opposition or counter-motion within thirty days

of service of plaintiff’s motion.

       4.        Plaintiff may serve and file a reply within fourteen days of service of defendant’s

opposition or counter-motion.

       5.        Unless the court orders otherwise, upon the conclusion of this briefing schedule,

the matter will be deemed submitted for decision without oral argument.

DATED: 12/26/07                                             FOR THE COURT:
                                                       RICHARD W. WIEKING, Clerk


                                                       By: Jessie Mosley
                                                           Deputy Clerk
